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  6030014.002
  UNITED STATES DISTRICT COURT
  FOR THE SOUTHERN DISTRICT OF FLORIDA
  MIAMI DIVISION
  IN ADMIRALTY
  ----------------------------------------------------------X

  MAERSK LINE A/S trading as SeaLand,

                            Plaintiff,

                   -against-                              CASE NO.


  RAPID TOW, LLC, a Florida Limited Liability
  Company, and GERARDO M. DORTA, An Individual,

                            Defendants.

  -----------------------------------------------------------X

                                  CIVIL COMPLAINT IN ADMIRALTY


           COMES NOW Plaintiff MAERSK LINE A/S trading as SeaLand (hereinafter “SeaLand”

  or “Plaintiff”), by and through its undersigned counsel, and sues the Defendants RAPID TOW,

  LLC, a Florida Limited Liability Company, and GERARDO M. DORTA, An Individual,

  (collectively “Defendants”) and as grounds for this action alleges as follows:

                        GENERAL AND JURISDICTIONAL ALLEGATIONS

           1.      This is an admiralty and maritime claim for damages. This Court has jurisdiction

  under 28 U.S.C. §§ 1331 and 1333. This matter arises under the laws of the United States, in

  particular, The Shipping Act of 1984, 46 U.S.C. §40101 et. seq. (hereinafter “The Act”).

           2.      SeaLand is a common carrier by water, inter alia, in the interstate and foreign

  commerce of the United States as defined in The Act and was such a common carrier for the benefit

  of Defendants.
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          3.      Defendants were at all times herein mentioned, a natural person, firm, association,

  organization, partnership, corporation, business, trust, or public entity, with its principal place of

  business or residence in this district and is and was a legal entity capable of being sued. Defendants

  are subject to personal jurisdiction in this Court. Defendant GERARDO M. DORTA is the

  principal of Defendant RAPID TOW, LLC. Per the terms and conditions of SeaLand’s bills of

  lading, GERARDO M. DORTA is jointly liable with RAPID TOW, LLC for all charges prayed

  for herein.

          4.      Venue is proper in this judicial district because it is where the claim arose and where

  Defendants reside or do business.

          5.      Plaintiff has retained the undersigned counsel to represent its interests in this matter

  and is obligated to pay its counsel a reasonable attorneys’ fee for their services herein.

                                         FIRST COUNT
                           (For Money due Under Tariff/Service Contracts)

          6.      Plaintiff realleges and incorporates by reference the allegations of Paragraphs 1

  through 5 above as if realleged and restated herein in their entirety.

          7.      Plaintiff has filed a schedule of its rates and charges and service contracts for the

  carriage of cargo, including detention and demurrage charges, wharfage and dockage with the

  Federal Maritime Commission or has otherwise maintained said rates and charges pursuant to The

  Act. Pursuant to The Act, Plaintiff is prohibited from transporting cargo for a lesser rate than that

  specified in its tariffs or service contracts. The Act also prohibits Defendants from obtaining

  transportation or attempting to obtain transportation of cargo at lesser rates.

          8.      In the course and scope of defendant’s NVOCC operations Plaintiff transported

  cargo for the benefit of Defendants during January to June, 2019 in the foreign commerce of the

  United States. Such transportation and services provided are evidenced by Plaintiff’s bills of lading
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  and/or freight bills, invoices, including detention and demurrage charges, credit agreements and

  freight guarantees, the terms of which are incorporated herein through this reference. Plaintiff has

  fully performed its tariff obligations. A list of said invoices is attached hereto as Exhibit 1 and

  made a part hereon. The invoices each reference the particular bills of lading and the invoices set

  forth the associated charges due under each bill of lading including, but not limited to, freight,

  demurrage and detention charges.

          9.      Plaintiff has demanded that Defendants pay the full amount due of $81,136.50.

          10.     Defendants have knowingly and willfully failed and refused to pay Plaintiff the full

  amount due.

          11.     Consequently, Defendants are liable to Plaintiff in the amount of $81,136.50, plus

  reasonable attorneys’ fees and interest thereon.

                                          SECOND COUNT
                                  (For Breach of Written Contract(s))

          12.     Plaintiff refers to paragraphs l through 11 of this complaint and incorporates them

  herein by this reference.

          13.     Said transportation was performed pursuant to written contracts of carriage between

  Plaintiff and Defendants, as evidenced by said bills of lading and/or freight bills listed in Exhibit 1.

          14.     Plaintiff has fully performed its obligations under said contracts except those

  obligations, if any, which Plaintiff was excused from performing.

          15.     Plaintiff has demanded that Defendants pay the amount due under said contracts and

  the Defendants have refused to pay thereon. Consequently, Defendants are liable to Plaintiff in the

  amount of $81,136.50, plus reasonable attorneys’ fees and interest thereon.
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                                           THIRD COUNT
                                    (For Goods Wares and Services)

          16.     Plaintiff refers to paragraphs l through 15 of this complaint and incorporates them

  herein by this reference.

          17.     Within the last five (5) years, Defendant became indebted to Plaintiff for goods,

  wares and services provided by Plaintiff to Defendants, as evidenced in Exhibit 1 for which

  Defendants agreed to pay plaintiff.

          18.     Despite due demand, the sum of $81,136.50 is now due, owing and unpaid for said

  goods, wares and services.



          WHEREFORE, Plaintiff prays for judgment against Defendants, as follows:

                  1.      For judgment in the amount of $81,136.50.

                  2.      For the costs of collection, according to proof;

                  3.      For costs of suit incurred herein, according to proof;

                  4.      For pre-judgment and post-judgment interest;

                  5.      For reasonable attorneys’ fees; and

                  6.      For such other and further relief as the Court deems just and proper.


  Dated: Key Biscayne, Florida
         August 26, 2019
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                                          THOMAS V. HALLEY, P.A.


                                          By: /S/ Thomas V. Halley
                                          Thomas V. Halley
                                          Florida Bar No. 0694363
                                          Attorney for Plaintiff
                                          251 Galen Dr., #302E
                                          Key Biscayne, FL 33149
                                          Tel. 305 469-0507
                                          thalley@shiplaw.net
